






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-011-00029-CV






NNN Met Center 10-1, LLC; NNN Met Center 10-2, LLC; NNN Met Center 10-3, LLC;
NNN Met Center 10-4, LLC; NNN Met Center 10-5, LLC; NNN Met Center 10-6, LLC;
NNN Met Center 10-7, LLC; NNN Met Center 10-8, LLC; NNN Met Center 10-9, LLC;
NNN Met Center 10-10, LLC; NNN Met Center 10-11, LLC; NNN Met Center 10-13, LLC;
NNN Met Center 10-14, LLC; NNN Met Center 10-15, LLC; NNN Met Center 10-16, LLC;
NNN Met Center 10-17, LLC; NNN Met Center 10-18, LLC; NNN Met Center 10-19, LLC;
NNN Met Center 10-20, LLC; NNN Met Center 10-21, LLC; NNN Met Center 10-22, LLC;
NNN Met Center 10-23, LLC; NNN Met Center 10-24, LLC; NNN Met Center 10-25, LLC;
NNN Met Center 10-26, LLC; NNN Met Center 10-27, LLC; and

NNN Met Center 10-28, LLC, Appellants


v.


BACM 2005-3 Met Center Office, LLC; Mark L. Patterson; Jeffrey J. Zissa;

R. Terry Miller; E. Joe Berger, III; John A. Bain; Michael C. Elrod; Beverly A. Houston;
Juanita Strickland; Janie Mucha; LNR Partners, LLC; and

Barclays Capital Real Estate, Inc., Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT

NO. D-1-GN-10-004498, HONORABLE STEPHEN YELENOSKY, JUDGE PRESIDING



	

M E M O R A N D U M   O P I N I O N


		This is an appeal from the denial of a temporary injunction to prevent a foreclosure
of appellants' interests in an office building.  The parties advise that although the property was sold
at foreclosure on February 1, 2011, one appellant, NNN Met Center 10-25, LLC had filed for
bankruptcy protection in the United States Bankruptcy Court for the Northern District of California
shortly before the sale.  Citing events in the bankruptcy proceedings, appellants have filed a
motion&nbsp;to abate this appeal until November 1, 2011.  They attach an order from the bankruptcy court
reflecting, among other things, that court's view that an automatic stay was in effect at the time of
the foreclosure sale (1) and that it has extended the automatic stay until November 1 to afford the
parties an opportunity to resolve the underlying dispute.  In light of the automatic stay, we abate this
appeal and dismiss appellants' motion as moot.  See Tex. R. App. P. 8.

		In addition to opposing abatement, appellees have moved to dismiss the appeal as
moot, citing the February 1 foreclosure sale.  In light of the bankruptcy stay, we may not rule on
appellees' motion to dismiss.  See Tex. R. App. P. 8.2; Continental Casing Corp. v. Samedan Oil
Corp., 751 S.W.2d 499, 501 (Tex. 1988) (state-court action taken during bankruptcy stay is void). 
		Any party may file a motion to reinstate the appeal if permitted by federal law or the
bankruptcy court.  See Tex R. App. P. 8.3.  It is the parties' responsibility to notify the Court as soon
as possible if an event occurs that would allow reinstatement.  Id.  Failure to notify this Court of a
lift of the automatic stay or the conclusion of the bankruptcy proceeding may result in dismissal of
the case for want of prosecution.  See Tex. R. App. P. 42.3(b).


						__________________________________________

						Bob Pemberton, Justice

Before Justices Puryear, Pemberton and Rose

Bankruptcy

Filed:   May 27, 2011
1.   See 11 U.S.C. § 362.


